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Linda Matas on behalf of JONATHAN HENLEY
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Case Contacts

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Jonathan W.Henley               j.henley@bennetthenleylaw.com 8/26/2024 10:17:49 AM SENT

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